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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


OT, LLC, et al.,                                   *
                                                   *
       Plaintiffs,                                 *
                                                   *
                v.                                 *          Civil Case No. SAG-17-2812
                                                   *
HARFORD COUNTY, et al.,                            *
                                                   *
       Defendants.                                 *

*      *       *       *       *       *       *       *      *       *       *       *       *       *


                                              ORDER

       For the reasons stated in the accompanying memorandum opinion, it is this 24th day of

October, 2019, ORDERED that Defendants’ Motion for Summary Judgment, ECF 199, is

GRANTED in part and DENIED in part. The Motion is granted with respect to Count XVI, and

with respect to Counts I-V, to the extent that Plaintiffs have sued the Delegates in their official

capacities. The Motion is denied as to all other claims.



Dated: October 24, 2019                                                   /s/
                                                              Stephanie A. Gallagher
                                                              United States District Judge
